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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       Cause No.: 1:06-CR-23-TS
                                            )
VERNELL BROWN                               )

                                   OPINION AND ORDER

       This matter is before the Court on Stand-By Counsel’s Motion to Withdraw for

Defendant Vernell A. Brown [DE 393]. When Defendant Brown waived his right to counsel, the

Court appointed stand-by counsel to assist the Defendant in proceedings before this Court. The

Defendant has now been sentenced and a Notice of Appeal has been filed on his behalf.

       The Court GRANTS the Motion [DE 393] and attorney Sam Bolinger’s stand-by

appearance is withdrawn.

       SO ORDERED on October 21, 2008.

                                            s/ Theresa L. Springmann
                                            THERESA L. SPRINGMANN
                                            UNITED STATES DISTRICT COURT
